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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Brazos Sandy Creek Electric Cooperative, Inc.
Re:    Debtor                                                 Case No.: 22−30682
                                                              Chapter: 7




                               NOTICE OF FILING OF OFFICIAL TRANSCRIPT



An official transcript has been filed in this case and it may contain information protected under the E−Government
Act of 2002, and Fed. R. Bank. P. 9037.

Transcripts will be electronically available on PACER to the public 90 days after their filing with the court. To
comply with privacy requirements of Fed. R. Bank. P. 9037, the parties must ensure that certain protected information
is redacted from transcripts prior to their availability on PACER.

If redaction is necessary, the parties must file a statement of redaction listing the items to be redacted, citing the
transcript's docket number, the item's location by page and line, and including only the following portions of the
protected information. This statement must be filed within 21 days of the transcript being filed. A suggested form for
the statement of redaction is available at http://www.txs.uscourts.gov.

      • the last four digits of the social security number or taxpayer identification number;
      • the year of the individual's birth;
      • the minor's initials;
      • the last four digits of the financial account number; and
      • the city and state of the home address.


Any additional redaction requires a separate motion and Court approval.

A party may review the transcript at the Clerk's Office public terminals or purchase it by following the instruction on
our website at http://www.txs.uscourts.gov or by calling (713) 250−5500 . A party is only responsible for reviewing
the:


      • opening and closing statements made on the party's behalf;
      • statements of the party;
      • testimony of any witness called by the party; and
      • any other portion of the transcript as ordered by the court.




Redaction is your responsibility. The Clerk, court reporter, or transcriber will not review this transcript for
compliance.



                                                              Nathan Ochsner
                                                              Clerk of Court
